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                                                                                 EXHIBIT C
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


                                                )
DARAIUS DUBASH, and                             )
                                                )
DR. FARAZ HARSINI                               )
                                                )
Plaintiffs,                                     )
                                                )
                                                )     CASE NO. 23-3556
v.                                              )
                                                )
CITY OF HOUSTON, TEXAS;                         )
                                                )
HOUSTON DOWNTOWN PARK                           )
CORPORATION;                                    )
                                                )
OFFICER ROBERT DOUGLAS                          )
(# 7943), in his individual capacity;           )
                                                )
OFFICER VERN WHITWORTH                          )
(# 7595), in his individual capacity;           )
                                                )
DISCOVERY GREEN CONSERVANCY                     )
f/k/a HOUSTON DOWNTOWN PARK                     )
CONSERVANCY;                                    )
                                                )
and                                             )
                                                )
BARRY MANDEL, in his individual                 )
capacity.                                       )
                                                )
Defendants                                      )




                          DECLARATION OF DARAIUS DUBASH


     1. My name is Daraius Dubash. I certify that I am over 18 years of age and reside in Austin,

        Texas.
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2. I have worked in finance, accounting, marketing, and general management. I spend a

   majority of my time volunteering for two nonprofits, Allied Scholars for Animal Protection

   in the United States, and the PrashantAdvait Foundation in India.

3. In August 2001, I made the best decision of my life—to come to the US to study. I was

   drawn to the freedoms—political, religious, and economic—which the United States

   afforded all her residents. I am now a proud taxpaying United States Citizen.

4. I especially love the foresight of our Founding Fathers to ensure that freedom of speech &

   free religious exercise were integral to the American experiment, which is why I am

   troubled with my experiences and arrest at Discovery Green, in Houston, Texas.

5. As a Naturalized US Citizen, I swore to “support and defend the Constitution and laws of

   the United States against all enemies, foreign and domestic; Bear true faith and allegiance

   to the same.” I take that responsibility very seriously.

6. I am a follower of the Advaita Vedanta stream of Hinduism, in particular as taught by

   Acharya Prashant. The main texts in Vedanta are the Upanishads (the most rarefied

   teachings from the Vedas), the Srimad Bhagavad Gita (akin to the Bible in Christianity),

   and the Brahma Sutras. My studies and practice in this tradition have given me a deeper

   religious and spiritual understanding of not eating animal products, in addition to

   understanding what it means to be human and the purpose of life.

7. A key teaching of Vedanta scripture is the concept of “ahimsa” which can be understood

   as “nonviolence.” In recent times, Mahatma Gandhi popularized “Ahimsa” or

   “nonviolence” in his fight for Indian independence. He wrote: “Ahimsa is the highest duty.

   Even if we cannot practice it in full, we must try to understand its spirit and refrain as far

   as is humanly possible from violence,” and, “The most distinctive and largest contribution
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     of Hinduism to India’s culture is the doctrine of ahimsa.” However, ahimsa is not the same

     as pacifism. Gandhi also wrote, “Ahimsa is an attribute of the brave. Cowardice and ahimsa

     don’t go together any more than water and fire.”

8.   This concept extends to nonviolence to all living things, including animals. Ahimsa is a

     key theme in Vedanta and in the Indic religious streams of Buddhism, Jainism, and

     Hinduism. Vedanta can be understood as the essence and pinnacle of Hindu philosophy.

9. For example, the Chandogya Upanishad says “अथ यत्तपो दानमाजर्वमिहँ सा सत्यवचनिमित ता

     अस्य   दिक्षणाः   ॥   ४   ॥”    [“Now Tapas (austerity), Dāna (charity), Arjava (sincerity,

     uprightness, and nonhypocrisy), Ahimsa (nonviolence) and Satya-vacanam (truth telling),

     these are the Dakshina (gifts) He gives [in life]. - Chandogya Upanishad 3.17.4”].

10. Hindu scriptures have long advocated for a vegetarian diet (no animal flesh, fish, or eggs)

     based on the concept of ahimsa. However, thousands of years ago, there was no cruel

     industrialized system of milk production like there is today. So in today’s world, veganism

     is the culmination of the vegetarianism of yesteryears. If ahimsa means to not harm the

     animal, then in today’s world (where cow’s milks substitutes are readily available), one

     must not consume cow’s milk because today’s milk production involves many cruel

     practices such as forced ejaculation of a bull, artificial impregnation of a cow, slaughter of

     baby male calves, and the eventual slaughter of the cow.

11. I volunteer with the PrashantAdvait Foundation in India whose mission is to spread the

     teachings of Advaita Vedanta. The PrashantAdvait Foundation’s teachings include being

     kind to animals, investigating the human condition and what it means to rise to the pinnacle

     of being a human being, education, living rightly, and enhancing women’s rights in India

     and around the world.
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12. I have also been influenced by Buddhism. The first Buddhist precept in the Sila (moral

   code) is to abstain from killing, and nonkilling features in the Vipassana code of morality.

   Vipassana (a process of self-purification by self-observation and seeing things as they

   really are) is a technique developed by the Buddha.

13. I attended a ten-day silent Vipassana meditation camp in Kauffman, Texas, in 2015 where

   no animal flesh or eggs were served. It wasn’t as hard as I imagined to live without animal

   flesh, so I continued on that path after leaving the camp. I have attended two subsequent

   ten-day Vipassana camps since then.

14. I have also been influenced by the teachings of Buddhist Zen master Thich Nhat Hahn, see,

   e.g.,   Thich   Nhat   Hanh:     Why    everyone      should   be   Vegan.,   available    at

   https://www.youtube.com/watch?v=GDMwYC9qZ-w, as well as the teachings from the

   Buddha (Siddhartha Gautama) who said, “The eating of meat extinguishes the seed of

   Great Kindness.”

15. Vedanta teaches that each person is compelled to spread the truth to others—to be silent,

   or to not make a choice, is itself a choice. Not sharing the belief of nonviolence can itself

   be violence. In fact, the most sacred of Vedanta (& Hindu) texts is the Srimad Bhagwad

   Gita where Lord Krishna is using all his persuasive powers to exhort a reluctant Arjuna to

   fight the just war against Arjuna’s own family, because to NOT do so would be sinful and

   in service of evil. Mahatma Gandhi would often say that the Srimad Bhagwad Gita was the

   one book which inspired him the most. My desire to speak up for what I know is right is

   inspired by the Srimad Bhagwad Gita.

16. Besides sharing this belief through my volunteer work with the PrashantAdvait Foundation

   and Allied Scholars for Animal Protection in the US, I joined, and currently participate in,
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   the group Anonymous for the Voiceless as a way of practicing my faith by promulgating

   the message of ahimsa or not harming animals unnecessarily. Although I recognize that

   people of all faiths join Anonymous for the Voiceless for different reasons, for me it is an

   especially effective way to spread the teaching of ahimsa, even to those who do not desire

   to practice Vedanta. Its method of publicly transmitting the message of nonviolence to

   fellow citizens is more effective than limiting my conversations to conversations with

   people I already know.

17. The most effective way I can practice my faith is by having personal interaction and

   conversations with people and discussing with them the principles of nonviolence as it

   pertains to animals. I practice this key aspect of my religion by serving as a co-organizer

   of the Houston chapter of Anonymous for the Voiceless, an animal rights group that holds

   educational advocacy events across the globe calling for the fair treatment of animals.

   These public actions are called “Cubes of Truth.”

18. Cubes of Truth are carried out in public places so that we can engage and persuade other

   individuals.

19. These events include a few “Cube team” members holding small televisions to show silent

   film clips of the poor treatment of animals all over the world while the “Outreach team”

   members stand aside and wait to be approached by those passing by who are interested in

   our cause or who show interest by stopping and watching the footage on the TVs. We used

   to use laptop computers, but TVs weigh less than laptop computers and can be attached to

   our body. Only the members holding televisions (usually one to four persons) wear a “Guy

   Fawkes mask” in the style popularized by the film V for Vendetta.
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20. This white mask with a slight smirk was specifically chosen for its rich meaning. I use this

   mask because it stands for inquiry and protest against the status quo and oppression. It

   represents the fight for truth and is a symbol standing opposed to all injustice and

   discrimination, including injustice and discrimination towards nonhuman animals. The

   mask is simple and elegant and connotes purity as well. In my experience, the mask is

   critical to effectively communicate our message. Many people recognize that mask, and it

   gets people’s attention without frightening them. That mask is a signature identifier of

   Anonymous for the Voiceless around the world. To clarify, none of the volunteers who

   speak to the public wear masks. The masks are only worn by the persons who hold the TVs

   so that people stopping by are not distracted by the face of the person holding the TV.

   There are more volunteers without masks than those wearing masks.

21. It is imperative that we wear on our chests a small TV, which shows images of how eggs,

   milk, fish, and meat are produced. There is no sound playing from the TV, but the pictures

   tell more than a thousand words. The silent video portrays images from a documentary film

   titled Dominion that shows behind-the-scenes footage of industrial meat production.

22. In my experience, it is only when people see the cramped conditions where the animals

   live, the callous ways in which they are handled, and the inability of the animals to protect

   themselves that it is possible for them to question if they really want to support such

   industries. It is vital to my advocacy that people see the silent images shown on the TV so

   they get to see what their money is purchasing. Many people, including families, often stop

   to watch the footage and interact with us. And even if they don’t stop consuming animal

   products, they have been exposed to a bit of the reality of meat production.
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23. When I participate in a Cube of Truth, I try to connect with passersby in the way that will

   best persuade them to stop killing animals needlessly. When they show interest or approach

   the Cube of Truth, the first question I ask them is, “How does this make you feel?” or “Do

   you want to know what we’re doing here?” I try to find common ground with people of all

   backgrounds. If I am talking to someone I know is from India, and if I know they are

   religious, I will connect with them that way. If I change someone’s mind about eating

   animal flesh and how we treat animals, then I have spread the truth of ahimsa and upheld

   Vedanta.

24. Another co-organizer of the Houston chapter of Anonymous for the Voiceless is Dr. Faraz

   Harsini. We’ve led several Cubes of Truth in public parks and other public spaces in Texas.

25. The Cube of Truth is a peaceful demonstration and members who participate in this protest

   do not harass those passing by, nor do we heckle or herd them towards an outreacher. I am

   trying to persuade people, and in my experience, people will only be persuaded if they

   make free choices that they feel are coming from themselves and not from any external

   source. If people choose to stop, engage, and converse with us, then I have found that they

   are more open to our message than if we were to randomly stop someone on the street and

   force them to talk with us.

26. I always dislike walking into a shop, only to have the salesperson ask me immediately if I

   need help and try to sell me something. I would rather browse and look around and then

   initiate a conversation, if needed. I bring this approach to my advocacy.

27. I locate the Cube of Truth in a place where it will not block any walkway entirely so that

   ingress and egress is always possible. I make sure people can pass freely by and that they

   can choose to walk around us.
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28. As the co-organizer of the Houston chapter of this group, I do not allow members of our

   chapter to approach the members of the public unless those passing by initiate the

   conversation with our members, or have stopped to watch footage on the TVs, or have

   glanced multiple times at the TVs and then at our volunteers and appear interested in

   wanting to know more.

29. I do not allow our members to hand out literature unless the passerby has initiated a

   conversation with us. If someone is interested, I may pass out a QR code that links to a

   website providing more information after our conversation together.

30. I do not allow our members to engage children under the age of twelve. Children are not

   the audience, because in my view, they are not responsible for the purchase choices of their

   caregivers and lack the faculty to reason at a sophisticated level. Sometimes parents

   voluntarily stop and have conversations with us along with their children. And sometimes

   children will ask if we can give them a white Guy Fawkes mask.

31. If a volunteer did not follow the protocol, he or she would be first reprimanded, and if the

   behavior persists, would be removed from the chapter.

32. Occasionally, we have used a small Bluetooth speaker playing instrumental music from

   our phone at a low volume for dramatic effect. We have never been told that our music was

   causing a disturbance or was being played too loud.

33. I perform extensive research before I lead our group in a demonstration by researching

   proper areas to hold Cubes of Truth in a peaceful and safe way. This entails checking

   whether the property is public or private, reviewing details of the property and adjoining

   areas on Google Maps, and assessing the number of people expected to pass by.
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34. After researching Discovery Green, I expected it to be a welcoming venue, given that it

   labeled itself as a village green and given its history of hosting protests such as those

   opposing the National Rifle Association and supporting the Black Lives Matter movement,

   in addition to protests for and against candidates standing for election.

35. I have participated and co-led Cubes for Anonymous for the Voiceless in many cities

   across Texas, including Austin, San Marcos, Waco, San Antonio, and Dallas. I usually co-

   lead Cubes with Dr. Faraz Harsini. During these Cubes in Austin, San Marcos, Waco, San

   Antonio, and Dallas, our group has never been told to leave a public area in the past, despite

   police being stationed next to us, or patrolling the location where we held Cubes of Truth.

36. Prior to entering Discovery Green Park, I performed research that informed me that the

   park is a public park. Along with Dr. Harsini, I went to Discovery Green’s website, which

   characterizes the space as a public park and states that it is open to the general public. Dr.

   Harsini and I also independently visited the park. I observed that Discovery Green appears

   to be a public park, where the public can enter without admission or tickets, and where

   people gather, recreate, and attend events. I also noticed a stone tablet with the Mayor’s

   name, the City of Houston listed as the owner, and the Houston Downtown Park

   Corporation on it, strongly suggesting that the park was public. After being asked to leave

   the park in November 2021, I also found property records showing that the land is owned

   by the Houston Downtown Park Corporation, making Discovery Green public property,

   and that Discovery Green receives public funds.

37. On November 13, 2021, the first time I was organizing a Cube of Truth in Discovery Green

   Park in Houston, William Flowers, the facilities manager, ordered us to turn off our

   televisions and leave. Officer R. Stanfield, who was in a Houston police uniform, claimed
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   that the park was a private park. Officer Stanfield asked us to leave, intimidated us by

   dangling handcuffs in front of us, and then said, “You’re about to get arrested.” I was scared

   and didn’t want to be arrested, so I and the rest of my group left immediately. Neither

   Flowers nor Stanfield stated any park rule or city ordinance when ordering us to leave.

38. Several months later, on April 16, 2022, a park security officer, along with Houston Police

   Department Officer R. Douglas (#7943), ordered me, Dr. Faraz Harsini, and others in the

   Cube of Truth to get off the sidewalk at Discovery Green Park. The park security officer

   claimed that Discovery Green is private property and that sections of the sidewalk

   (including the section opposite the George R Brown Convention Center) belonged to

   Discovery Green. The security officer also claimed he was ordering us to leave because he

   did not “want to continue to get complaints.” He provided no specifics about any

   complaint. I responded, saying “I don’t think that’s a legitimate reason not to have a

   peaceful protest,” but the security officer replied that “I wouldn’t bother you if they

   wouldn’t ask me.” I understood “they” to mean Discovery Green Management. Officer

   Douglas was wearing a Houston police uniform. Again, not wanting to risk arrest, we left

   the area. Neither the park security officer nor Douglas stated any park rule or city ordinance

   when ordering us to leave.

39. On June 18, 2022, we were standing at the edge of Discovery Green at the corner of

   Crawford Street and Lamar Street. A Discovery Green park manager, Brian Wilmer,

   informed my group again that we needed to move because the area we were standing on

   “is not public property.” He claimed that Discovery Green owned the portion of the

   sidewalk where we were standing. Again, not wanting to risk arrest, we left the area.

   Wilmer did not state any park rule or city ordinance when ordering us to leave.
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40. Wilmer also claimed that our “intended purpose is to cause nightmares in children.” That

   was false. I have no desire to cause nightmares to children, and again, our protocol prevents

   us from approaching and speaking with children under twelve years old.

41. On July 23, 2022, we were peacefully performing a Cube of Truth in Discovery Green.

   We had no amplified sound, and only two persons were standing with TVs strapped to their

   chests, while the others were waiting patiently for folks to stop and watch the footage. A

   different group of people were setup in the park nearby to promote voter registration,

   speaking unsolicited with passersby. I did not witness any police or security attempting to

   control that group’s speech.

42. On this date, the park security and Production Coordinator, Floyd Willis, approached us

   and told our group that we needed to leave due to the content of our message, including the

   clips shown on our small TVs.

43. Willis then called over two men wearing Houston police uniforms: Officer R. Douglas

   (#7943) and Officer Whitworth (#7595). The two officers arrived.

44. When I asked the officers if this was a private park, they did not answer me but claimed

   they must do what the manager was telling them to do. I attempted to show the officers

   documents from my prior research that proved Discovery Green is a public park.

45. Officer Douglas (#7943) never asked me to leave. Instead, he asked for my driver’s license,

   told me to turn around and put my hands behind my back, and handcuffed me, and I

   complied without any resistance. At no point before or after this did he interview witnesses,

   or do anything to determine whether I was breaking any law. Dr. Harsini filmed the entire

   incident.
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46. I was arrested for criminal trespassing after participating in the Cube of Truth on July 23,

   2022. That charge was later dismissed by the prosecuting attorney. Retaining an attorney

   to defend against that unconstitutional charge caused me to expend significant money and

   time.

47. Officer Douglas then walked me, handcuffed, to a Discovery Green office room. Still

   painfully handcuffed with my hands behind my back, I was forced to spend over two hours

   sitting in a chair in that office. Officer M Q Ta arrived after two to three hours. Officer Ta

   did not make any attempt to assess whether my arrest violated my First Amendment rights.

   I was then transported to a detention center and had to endure the curiosity and stares of

   the crowds at Discovery Green as I was walked and frisked in handcuffs.

48. This was a humiliating experience, as I have never been arrested, and I pride myself on

   being a law-abiding citizen. I came to the park to lawfully spread the message of ahimsa

   through persuasive speech and was punished for that by being led away in handcuffs.

49. I then spent the night in a detention facility and was released around 1:00 pm the following

   day, after spending approximately sixteen hours sitting in a chair at the detention facility.

   I had to hire a criminal defense attorney to represent me in the alleged charge of “Criminal

   Trespass” and have expended a lot of time, energy, and money in defending my First

   Amendment rights to free speech and religious exercise, as well as my reputation. The

   District Attorney’s office finally dropped the charge against me on July 27, 2022.

50. While I have great respect and admiration for police officers for their tireless service and

   ensuring an orderly society, I was disappointed that Officers Whitworth (#7595) and

   Douglas (#7943) arrested me, instead of upholding my rights to free speech and free
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      religious exercise, especially after I tried showing them documents proving that Discovery

      Green is a public park.

   51. This experience with Officers Stanfield, Whitworth (#7595), and Douglas (#7943) leaves

      me apprehensive when I organize Cubes of Truths in Austin and Houston. I’m worried and

      anxious that police officers could stop us from exercising our First Amendment rights at

      any time; that I or other volunteers could be arrested and go to jail; and that we’d have to

      expend significant time and energy to prove our innocence.

   52. I had to find attorneys to discuss our matter with and travel to Houston to meet them. All

      this cost me time and money, in addition to the tenderness & abrasions on my wrist from

      the handcuffed detention which took four months to heal.

   53. In addition, I was suffering from post-acute sequelae of COVID-19, and the additional

      anxiety caused by this incident exacerbated my heart rate and increased the fatigue I was

      experiencing.

   54. After these events, I sent letters to the City of Houston, Houston Downtown Park

      Corporation, and Discovery Green Conservancy explaining that they were violating my

      First Amendment rights. Discovery Green management responded and informed me that I,

      and other members of the Houston chapter of Anonymous for the Voiceless, would only

      be allowed to conduct a Cube of Truth if we censored our content. Specifically, we would

      not be allowed to play silent excerpts from the film Dominion showing instances of animal

      cruelty or wear the Guy Fawkes mask within Discovery Green. The City and the Park

      Corporation did not respond.

   55. I declare under penalty of perjury that the foregoing is true and correct.


        October 19, 2023
Dated: _________________
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                                       Daraius Dubash
